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                                 Exhibit 1
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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the fding
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instaictions for completion.)


                I.       CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Elton Dorsey
        Plaintiff                                                                 Case #
                                                                                  Judge
        vs.
       Bd of Trustees.Hialeah Employees Retirement System, City of Hialeah. Florida, Gelien Perez
        Defendant



                 II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claimi, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing puiposes only. The amount of the claim
       shall not be used for any other purpose.

         □   $8,000 or less
         □   $8,001 -$30,000
         □   $30,001-$50,000
         □   $50,001-$75,000
         □   $75,001 -$100,000
         K   over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                           -1-
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   CIRCUIT CIVIL
   □ Condominium
   □ Contracts and indebtedness
   □ Eminent domain
   □ Auto negligence
   □ Negligence—other
          □ Business governance
          □ Business torts
          □ Environmental/Toxic tort
          □ Third party indemnification
          □ Construction defect
          □ Mass tort
          □ Negligent security
          □ Nursing home negligence
          □ Premises liability—commercial
          □ Premises liability—residential
   □ Products liability
   □ Real Property/Mortgage foreclosure
         □ Commercial foreclosure
         □ Homestead residential foreclosure
         □ Non-homestead residential foreclosure
         □ Other real property actions

   □Professional malpractice
         □ Malpractice—^business
         □ Malpractice—medical
         □ Malpractice—other professional
    Other
         □ Antitrust/Trade regulation
         □ Business transactions
         □ Constitutional challenge—statute or ordinance
         □ Constitutional challenge—^proposed amendment
         □ Corporate trusts
         □ Discrimination—employment or other
         □ Insurance claims
         □ Intellectual property
         □ Libel/Slander
         □ Shareholder derivative action
         □ Securities litigation
         □ Trade secrets
         □ Trust litigation

   COUNTY CIVIL

   □ Small Claims up to $8,000
   □ Civil
   □ Real property/Mortgage foreclosure
                                                   -2-
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   □ Replevins
   □ Evictions
          □ Residential Evictions
         □ Non-residential Evictions
   □ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes □ No Kl

           IV.    REMEDIES SOUGHT (check all that apply):
           lEI Monetary;
               Nonmonetary declaratory or injunctive relief;
           □ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)



           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   □ yes
                   lEI no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   Kl no
                   □ yes If “yes,” list all related cases by name, case number, and court.

           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 □ yes
                 Kl no

   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that 1 have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Richard A Sicking                         Fla. Bar # 73747
                  Attorney or party                                       (Bar # if attorney)

  Richard A Sicking                                09/02/2021
   (type or print name)                            Date




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                                                               IN THE CIRCUIT COURT OF THE
                                                               11th JUDICIAL CIRCUIT IN AND FOR
                                                               MIAMI-DADE COUNTY, FLORIDA

                                                               CIVIL DIVISION

                                                               CASE NO.:

        ELTON DORSEY,

                Plaintiff,

         vs.

         BOARD OF TRUSTEES OF THE
         CITY OF HIALEAH EMPLOYEES
         RETIREMENT SYSTEM,
         CITY OF HIALEAH, FLORIDA
         and GELIEN PEREZ,

                      Defendants.

                                                   COMPLAINT

                This is a Complaint for Declaratory Relief, Injunction, and Money Damages.

                COMES NOW the Plaintiff, Elton Dorsey, and files this Complaint for Declaratory Relief,

         Injunction and Money Damages, by and through his undersigned co-counsel, and says:

                                                   COUNT ONE

                1.      This court has jurisdiction of the subject matter.

                2.      The claim for money damages is in excess of the jurisdictional limits of this Court.

                3.      This is an action authorized by the Florida Protection of Public Employee

         Retirement Benefits Act. Sec. 112.60, et seq., Fla. Stat.

                4.      Section 112.66(5), Fla. Stat., provides:

                       A civil action may be brought by a member or beneficiary of a retirement
                       system or plan to recover benefits due to him or her under the terms of his or
                       her retirement system or plan, to enforce the member’s or beneficiary’s
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                 rights, or to clarify his or her rights to future benefits under the terms of the
                 retirement system or plan.

           5.     The plaintiff Dorsey (“Dorsey”) is over the age of 18 and is a resident of Miami-

   Dade County, Florida.

          6.      Dorsey is a member of the City of Hialeah Employees Retirement System.

           7.     The Defendant Board of Trustees of the City of Hialeah Employees Retirement

   System (“the Board”) is the custodian and the administrator of the pension fund for the employees

   of the City of Hialeah, Florida.

           8.     The Board is a governmental agency of the City of Hialeah, Florida, which can sue

   and be sued in its own name.

           9.     The Defendant, City of Hialeah (“the City”) is a municipal corporation located in

   Miami-Dade County, Florida.

           10.    The Board is governed by the pension ordinance enacted by the City. City of

   Hialeah Code Chapter 70, Retirement and Pensions.

           11.     The Board is governed by the Marvin B. Clayton Police Officers’ Pension Trust

   Fund Act. Sec. 185.01, et seq., Fla. Stat.

           12.     Dorsey was a police officer employed by the City since 2004.

           13.     Dorsey suffered a service-connected injury on July 15, 2011, while participating in

   a training exercise.

           14.     At that time, Dorsey became entangled with another officer in a chokehold when

   he developed severe neck pain.

           15.     Dorsey reported the injury timely to his supervisor. However, a written Workers’

   Compensation Notice of Injury was not prepared until later.
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           16.     Dorsey’s neck condition worsened such that he ultimately required two neck fusion

   surgeries.

           17.     Dorsey’s injury was ultimately accepted by the City as covered under the Florida

   Workers’ Compensation Law.

           18.     The City agreed that Dorsey’s neck injury was due to an accident arising out of and

   in the course of his employment.

           19.     The City agreed that Notice of Injury was properly given under the Florida

   Workers’ Compensation Law.

           20.     The City agreed that Dorsey’s compensable accident was the major contributing

   cause of his need for treatment, including surgeries, and the major contributing cause of his

   disability, that is, without apportionment.

           21.     Dorsey has reached maximum medical improvement from his neck injuiy.

           22.     The City agrees that Dorsey has reached maximum medical improvement from his

   neck injury.

           23.     Dorsey has a pennanent impairment of the body as a result of his service-connected

   neck injury.

           24.     The City agrees that Dorsey has a pennanent impaiiTnent of the body due to his

   seiwice-connected neck injury.

           25.     The City is estopped to deny that Dorsey suffered a service-connected permanent

   disability by having represented to the State of Florida in a workers’ compensation proceeding,

   that he does.

           26.     Dorsey is no longer able to perform the duties of a police officer on account of his

   service-connected neck injury.
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              27.    The City agrees that Dorsey is no longer able to perform the duties of a police

   officer on account of his service-connected neck injury.

              28.    On account of his service-connected neck injury, the City has assigned Dorsey to a

   light duty position in the Communications Division.

              29.    Dorsey’s work for the City in Communications is not “in classification”.

              30.    The City has taken away Dorsey’s police badge.

              31.    The City has taken away Dorsey’s police unifomi.

              32.    The City has taken away Dorsey’s gun.

              33.    The City has taken away Dorsey’s arrest power.

              34.    Dorsey is no longer qualified to work as a policeman.

              35.    For his work in Communications, Dorsey is not receiving the same pay as a police

   officer.

              36.    Dorsey applied to the Board for a service-connected permanent total disability

   retirement.

              37.    By Order, the Board awarded Dorsey a service-connected permanent total disability

   retirement on September 22, 2020.

              38.    The City appealed this decision of the Board and the Board conducted a fonnal

   hearing on May 10, 2021.

              39.    Dr. Jeffrey Worth was the Board’s Independent Medical Examiner (IME).

              40.    Dr. Worth was of the opinion that Dorsey was permanently and totally disabled as

   a police officer.                                                           ^

              41.    Dr. Worth was of the opinion that Dorsey could only perform limited duty for less

   than full time.
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          42.    Dorsey is only able to perform light duty work less than full time.

          43.    The Board entered an “Order Denying Service-Connected Disability Benefit” to

   Dorsey on August 9, 2021.

          44.    The Order of August 9, 2021, describes the Board’s vote as follows:

                 The Board voted that Dorsey was not permanently disabled and that the
                 disability was not service-connected. The Board voted that the disability
                 was total. The Board deadlocked on the issue of whether a reasonable
                 accommodation had been provided for Dorsey.

                 As the Board detemiined that Dorsey is not permanently disabled from
                 further service as a police officer and that his injury is not serviced-
                 connected, the application for service-connected disability benefit is hereby
                 denied. (Final Order 13).

          45.    The record transcript of the proceedings of May 10, 2021, describes the vote as

   follows:

                         MR. KAUFMAN: The first motion, 1 think, that you should consider is
                 whether the disability applicant is permanently disabled, and the definition of
                 permanent disability is that you do not feel that he will ever be in a position to
                 return to work as a police officer, that he’ll never be in a position to provide
                 useful and efficient services as a police officer to the City of Hialeah.

                        So I would ask you to entertain a motion, either that he is permanently
                 disabled or that he’s not permanently disabled, and see if we can get a second
                 on the motion and then have some discussion. I think it’s always a good idea,
                 when you make a decision, for you to give some support backing up why you
                 came to a certain conclusion, so if this is ever reviewed by a court, they have
                 some sort of idea about the evidence that you were relying upon in reaching
                 your decision.

                       So, Mr. Chairman, 1 would entertain that motion first as to the
                 permanency issue.

                         CHAIRMAN WILLIAMS: Okay.

                        MR. ROSENGAUS:            We need a motion that he is permanently
                 disabled?

                         CHAIRMAN WILLIAMS: Or is not.
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                      MR. ROSENGAUS: Or not. The doctors seem to think that he is, so I
               will make a motion that he is permanently disabled.

                      MR. KAUFMAN; Second?

                      CHAIRMAN WILLIAMS; I’ll second it,

                      MR. KAUFMAN; Any discussion on the motion?

                      MR. ROSENGAUS; Did anybody hear anything different than I have?

                       THE SECRETARY; Okay. Motion to approve Mr. Dorsey’s retirement
               disability. Motion made by Mr. Rosengaus, seconded by Mr. B. Williams.

                      Mr. B, Williams?

                      CHAIRMAN WILLIAMS; Yes.

                      THE SECRETARY; Mr. Martinez?

                      MR. MARTINEZ; No.

                      THE SECRETARY; Mr. Beautellus?

                      MR. BEAUTELLUS; It’s pretty much -

                       MR. KAUFMAN; Just the issue of pennanency, whether or not you
               feel that this disability is permanent. Is there anything out there that’s going to
               - you know, any surgeries, other things that can be done that would allow him
               to return to work as a police officer?

                       MR. BEAUTELLUS; No.

                       THE SECRETARY; Ms. Perez?

                       MS. PEREZ; No.

                       THE SECRETARY; Mr, Ferrara?

                       MR. FERRARA; No.

                       THE SECRETARY; Motion denied.

                     MR. KAUFMAN; Then a motion as to the service connected aspect,
               whether or not the disability is service connected.
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                      CHAIRMAN WILLIAMS: Would you repeat that?

                       MR. KAUFMAN: So the motion would be whether or not the disability
               is service connected. So a motion that the disability is service connected or the
               disability is not service connected.

                       CHAIRMAN WILLIAMS: Just as a clarification, you’re saying that
               the injury was caused in the line of duty?

                      MR. KAUFMAN: Correct.

                      CHAIRMAN WILLIAMS: I’ll make the motion that it was service
               connected.

                      MR. ROSENGAUS: I’ll second it.

                      MS. JARAMILLO-VELEZ: As the Chaimian, he cannot move.

                       MR. KAUFMAN: I have no problem with the Chair making a motion.
               If you want to pass the gavel to the Vice Chair to make the motion, that’s fine.

                      MR. MARTINEZ: Do we have a motion on the floor?

                      CHAIRMAN WILLIAMS: Yes.

                      MR. MARTINEZ: Do we have a second?

                      MR. ROSENGAUS: Second.

                      MR. MARTINEZ: All right. Let’s take a roll.

                       THE SECRETARY: Motion to approve that the injuries were job-
               related. Motion made by Mr. B. Williams and seconded by Mr. Rosengaus.

                      Mr. Martinez?

                      MR. MARTINEZ: No.

                      THE SECRETARY: Mr. B. Williams?

                      CHAIRMAN WILLIAMS: Yes.

                      THE SECRETARY: Mr. Beautellus?

                      MR. BEAUTELLUS: No.
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                       THE SECRETARY: Ms, Perez?

                       MS. PEREZ: No.

                       THE SECRETARY: Mr. Ferrara?

                       MR. FERRARA: No.

                       THE SECRETARY: Mr. Rosengaus?

                       MR. ROSENGAUS: Yes.

                       THE SECRETARY: Motion denied.

                        MR. KAUFMAN: The last motion would be whether the disability is
               total, in that, at this point I time, he can provide useful and efficient services as
               a police officer for the City of Hialeah.

                       MR. MARTINEZ: Do we have a motion?

                       MR. KAUFMAN: You can pass the gavel back.

                       CHAIRMAN WILLIAMS: Can you repeat that, Stu?

                        MR, KAUFMAN: So the question is - well, the motion would be that
               Mr. Dorsey is totally disabled or he is not totally disabled, not taking into
               account the issue of whether or not there’s a reasonable accommodations. That
               would be a separate motion, if you found that he was totally disabled, but the
               totality of the disability is whether he can work as a police officer at this point
               in time, not having anything to do with the reasonable accommodation, just
               whether or not at this point in time he can go out in the streets and provide
               useful and efficient services as a police officer for the City of Hialeah.

                       MR. FERRARA: 1 will move that he’s not disabled.

                       MR. KAUFMAN: The motion is that he’s not totally disabled?

                       MR. FERRARA: Comect, that he cannot be a police officer.

                       MR. KAUFMAN: So that he is totally disabled.

                       MR. ROSENGAUS: I’ll second it.

                       TI-IE SECRETARY: Motion that Mr. Dorsey is permanently disabled
               to be a police officer -
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                          MR. KAUFMAN: That he is totally disabled from being a police
               officer.

                          THE SECRETARY; From being a police officer, my apologies.

                      Motion made by Mr. Rosengaus, and seconded by Mr. Ferrara - no,
               wait. Motion made by Mr. Ferrara, seconded by Mr. Rosengaus, right?

                          MR. FERRARA: Yes.

                          THE SECRETARY: Mr. Martinez?

                          MR. MARTINEZ: Yes.

                          THE SECRETARY: Mr. B. Williams?

                          CHAIRMAN WILLIAMS: Yes.

                          THE SECRETARY: Mr. Beautellus?

                          MR. BEAUTELLUS; Yes.

                          THE SECRETARY: Ms. Perez?

                          MS. PEREZ: Yes.

                          THE SECRETARY: Mr. FeiTara?

                          MR. FERRARA; Yes.

                          THE SECRETARY: Mr. Rosengaus?

                          MR. ROSENGAUS: Yes.

                          THE SECRETARY: Motion approved.



                     THE SECRETARY: Motion that Mr. Dorsey is not reasonably
               accommodated. Motion made by Mr. B. Williams, and seconded by Mr.
               Rosengaus.

                          Mr. Martinez?

                          MR. MARTINEZ: No.
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                           THE SECRETARY: Mr. B, Williams?

                           CHAIRMAN WILLIAMS: Yes.

                           THE SECRETARY: Mr. Beautellus?

                           MR. BEAUTELLUS: Yes.

                           THE SECRETARY: Ms. Perez?

                           MS. PEREZ: No.

                           THE SECRETARY: Mr. Ferrara?

                           MR. FERRARA: No.

                           THE SECRETARY: Mr. Rosengaus?

                           MR. ROSENGAUS: Yes.

                           MR. KAUFMAN: The motion fails, as there needs to be four
                    affirmative votes in order to approve the motion.

                           THE SECRETARY: The motion is basically a tie vote?

                           MR. KAUFMAN: Yes, so it fails.

                           THE SECRETARY: Motion denied.

   (Transcript 235-241, 244).

              46.   The Board should have awarded Dorsey his service-connected permanent total

   disability retirement as he was entitled to such benefit.

              47.   Dorsey is entitled to a service-connected pennanent total disability retirement

   benefit.

              48.   Dorsey’s disability is service-connected.

              49.   Pension Law for police officers does not allow for apportionment of causes. Police

   Pension Board City of Hollywood v. Gaines, 389 So. 2d 677 (Fla. 4th DCA 1980).

              50.   Dorsey’s disability is permanent.

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           51.    Dorsey’s disability is total as a police officer.

           52.    Dorsey’s employment as a Records Channel Operator in the Communications

   Division is not a reasonable accommodation as it is out of classification.

           53.    Dorsey’s employment as a Records Channel Operator in the Communications

   Division is not a reasonable accommodation as the pay is less than that of a police officer.

           54.    Dorsey is entitled to costs and attomey’s fees. Sec. 185.05, Fla. Stat.

           55.    Dorsey requests a declaration by the Court that he is entitled to a service connected

   pemianent total disability benefit from the Board and that the Court enjoin and direct the Board to

   make such award.

                                              COUNT TWO

           This is an action under the Florida Declaratory Judgments Act. Sec. 86.011, et seq., Fla.

   Stat.

           56.    Dorsey readopts paragraphs 1 through 55 of Count One as though contained herein.

           57.    Dorsey seeks a declaration of whether the proper remedy for a decision of his

   entitlement to service-connected permanent total disability benefits from the Board is a de novo

   hearing in the Civil Division of the Circuit Court under Sec. 112.66(5), Fla. Stat., or a petition for

   writ of common law certiorari in the Appellate Division of the Circuit Court to review the Order

   of denial of this benefit by the Board.

           58.    Section 86.111, Fla. Stat., provides:

                  Existence of another adequate remedy; effect.—The existence of another
                  adequate remedy does not preclude a judgment for declaratory relief

           59.    Dorsey is in doubt as to which remedy is appropriate.

           60.    The Florida Appellate Rules do not contain a specific provision for judicial review

   of a final order of a municipal (City) agency exercising quasi-judicial powers.

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           61.    The Access to Courts provision of the Florida Constitution, Art. I, Sec. 21, requires

   at least one hearing by the judicial branch in such cases.

           62.     The only appellate remedy available is common law certiorari under Fla. R. App.

   P. 9.030(c)(3); 9.100(f).

           63.     However, common law certiorari is not an appeal. It is discretionary and has

   limited applicability.

           64.     Consequently, the Supreme Court of Florida has decided that although judicial

   review of municipal agency orders is called certiorari, it really is appeal as a matter of right. Haines

   City Community Development V. Heggs, 658 So. 2d 523 (Fla. 1995).

           65.     However, the case would still be governed by certiorari rules. Heggs, supra.

           66.     Dorsey submits that the Legislature authorized public employees to have a direct

   action under Sec. 112.66(5), Fla. Stat., in the Circuit Court to decide their benefits in order to

   protect them from their employer and their pension board. Sec. 112.60, Fla. Stat.

           67.     Therefore, a member or beneficiary according to Sec. 112.66(5), Fla. Stat., has an

   option of a de novo hearing or certiorari for the Circuit Court to decide entitlement to benefits in

   such cases.

           WHEREFORE, Dorsey requests the Court to declare that he has the option of a de novo

   hearing in the Civil Division of the Circuit Court to decide his entitlement to benefits, and to

   conduct a de novo hearing accordingly.

                                              COUNT THREE

           This is an action under Title 42 IJ.S. Code Sec. 1983, which provides:

                   Every person who, under color of any statute, ordinance, regulation,
                   custom, or usage, of any State or Territory or the District of Columbia,
                   subjects, or causes to be subjected, any citizen of the United States or other
                   person within the jurisdiction thereof to the deprivation of any rights,

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                   privileges, or immunities secured by the Constitution and laws, shall be
                   liable to the party injured in an action at law, suit in equity, or other proper
                   proceeding for redress, except that in any action brought against a Judicial
                   officer for an act or omission taken in such officer’s Judicial capacity,
                   injunctive relief shall not be granted unless a declaratory decree was
                   violated or declaratory relief was unavailable.
          68.      Dorsey readopts paragraphs 1 through 55 of Count One as though contained herein.

          69.      U.S. Const. Amend. XIV requires that the proceeding be governed by “Due Process

   of Law”, which means that the fonnal hearing before the Board must be “fair and meaningful”.

          70.      The Defendant Gelien Perez is the Human Resources Director of the Defendant

   City of Hialeah and a member of the Board of the Employees Retirement System of the City of

   Hialeah, Florida.

          71.      The Plaintiff Elton Dorsey applied for a service connected permanent total

   disability from the Board.

          72.      The Board awarded Dorsey a service connected permanent total disability

   retirement benefit by order dated September 22, 2020.

          73.      The City appealed this decision to the Board and the Board conducted a hearing on

   May 10, 2021.

          74.      At the beginning of the fonnal hearing, Dorsey’s exhibits, which included two

   depositions of Gelien Perez were admitted into evidence without objection.

          75.      At the beginning of the formal hearing, Dorsey’s attorney raised the question of

   Gelien Perez sitting on the Pension Board and hearing and deciding the case on the ground that as

   she was a witness in the case, she should be disqualified from participation.

          76.      The attorney for the Pension Board, Stuart Kaufman stated on the record:

                   Ms. Perez is the Director of Human Resources, and we have two depositions
                   and probably was a decision-maker as to whether or not ~ you know, what
                   accommodation should be made, and, you know, it’s a personal decision as

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                   to anyone when they ask somebody to recuse themselves. So it is a personal
                   decision to Ms. Perez, but I think erring on the side of caution, my legal
                   advice is that I would find it to be an inherent conflict of interest to act as
                   both, a witness in a case with relevant testimony and somebody who may
                   actually be called in the case today as a witness, and then to be an ultimate
                   decision-maker.

   (Transcript 13).

           77.     Ms. Perez was then asked whether she felt she could render an unbiased decision

   and she was asked whether she should recuse herself or participate and she answered : “I can

   participate”.

   (Transcript 14).

           78.     At the conclusion of the hearing, the Board voted that Dorsey’s disability was total

   as a police officer.

           79.     When the time came at the hearing and a motion was made that Dorsey’s injuries

   were job related the Defendant Gelien Perez voted: No.

           80.     A further question was made whether the City’s assignment of Dorsey to the

   Communications Division to work as a Records Channel Operator was a “reasonable

    accommodation”.

           81.     The Board voted as to whether this was a reasonable accommodation.

           82.     The statement of the voting in the Order and the statement of the voting in the

    Record do not match.

           83.     The Order says the motion was whether a reasonable accommodation had been

    provided for Dorsey and that the vote was deadlocked. (Final Order 13).

           84.     The record shows that this is completely incorrect because the vote was whether a

    reasonable accommodation had NOT been provided Dorsey (it is completely backwards).

    (Transcript 244).

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          85,     Whether the City was providing a reasonable accommodation to Dorsey was an

   affirmative defense to total disability, Nuce v. Board of Trustees for the City Pension Fund for

   Firemen and Policemen in the City of Miami Beach, 246 So, 2d 610 (Fla, 3d DCA 1971),

          86,     Since the motion failed, the affirmative defense was not applicable,

          87,     As the Human Resource Director of the City of Hialeah, Gelien Perez was

   responsible for Dorsey’s assignment to the Communications Division to work as a Records

   Channel Operator,

          88,     The City asserted that this was a reasonable accommodation, such that it would

   defeat Dorsey’s application for service-connected permanent total disability retirement,

          89,     The Defendant Gelien Perez was a witness in the case in order to assert this defense

   of reasonable accommodation,

          90,     As a witness in the case to present evidence in an attempt to defeat Dorsey’s

   application, the Defendant Gelien Perez should have recused herself from acting as a decider,

          91,     Gelien Perez rendered the proceeding upon Dorsey’s application for service-

   connected permanent total disability not to be a fair and meaningful hearing in violation of Due

   Process of Law guaranteed by the 14th Amendment of the U,S, Constitution,

          92,     The Defendant Gelien Perez acting as an adverse witness and at the same time as a

   judge in regard to Dorsey’s application for service-connected pennanent total disability under

   color of the City’s Pension Ordinance is a violation of Title 42 IJ,S, Code Sec, 1983,

          93,     As a consequence of this violation of Title 42 U,S, Code Sec, 1983, the Defendant

   Gelien Perez is responsible for money damages including, but not limited to, what the amount of

   Dorsey’s service-connected permanent total disability retirement would be.




                                                   15
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 21 of 50



          94.     As a consequence of this violation of Title 42 U.S. Code Sec. 1983, the Defendant

   Gelien Perez is responsible for money damages including, but not limited to, the amount of pay

   Dorsey lost after the hearing on May 10, 2021.

          95.     Pursuant to Title 42 U.S. Code Sec. 1983, Dorsey also asserts a claim for costs and

   attorney’s fees against the Defendant Gelien Perez.

          WHEREFORE, Dorsey requests the Court to declare that he may bring a claim under Sec.

   112.66(5), Fla. Stat., for his entitlement to service-connected pemianent total disability from the

   City of Hialeah Retirement System and that Dorsey is entitled to a service-connected permanent

   total disability retirement from the City of Hialeah Retirement System and hold Gelien Perez

   responsible for money damages on account of her violation of Title 42 U.S. Code Sec. 1983 by

   being a judge and a witness in the same case, together with costs and attorney’s fees.



                                                         Date: September 2, 2021


                                                         Respectfully submitted,

   MARK A. TOUBY, ESQ.                                   RICHARD A. SICKING, ESQ.
   TOUBY, CHAIT & SICKING, P.L.                          TOUBY, CHAIT & SICKING, P.L.
   Co-Counsel for Plaintiff, Dorsey                      Co-Counsel for Plaintiff, Dorsey
   2030 South Douglas Rd., Suite 217                     2030 South Douglas Rd., Suite 217
   Coral Gables, EL 33134                                Coral Gables, FL 33134
   Telephone; (305)442-2318                              Telephone: (305)442-2318
   E-Mail: ejcc@fortheworkers.com                        E-Mail: ej cc3 @fortheworkers. com
   Florida Bar No. 63088                                 Florida Bar No. 073747



                                                         Richard A. Sicking




                                                    16
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Filing # 134370900 E-Filed 09/10/2021 02:19:42 PM

                                                           IN THE CIRCUIT COURT OF THE
                                                           1 Ith JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI-DADE COUNTY, FLORIDA

                                                           CIVIL DIVISION

                                                           CASE NO.: 2021-020500-CA-01

        ELTON DORSEY,

               Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and GELIEN PEREZ,

               Defendants.                            /

                                        CIVIL ACTION SUMMONS

        THE STATE OF FLORIDA
        To Each Sheriff of the State:

        YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
        Declaratory Judgment on:

                     CITY OF HIALEAH
         By Serving: Carlos Hernandez, Mayor
                     501 Palm Avenue, Hialeah, FL 33010            (305-883-5800)

        Each Defendant is required to serve written defenses to the Complaint for Declaratory Judgment
        on:
          Plaintiff/Plaintiff Attorney: RICHARD A. SICKING, ESQ.
          Address: 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
        within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
        and to file the original of the defenses with the Clerk of this Court either before service on
        Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
        entered against that Defendant for the relief demanded in the Complaint for Declaratory
        Judgment.

         DATED ON                         2021.

                                                     HARVEY RUVIN
                                                     Clerk of the Circuit Court


                                                     By_
                                                           As Deputy Clerk
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 24 of 50



                       AMERICANS WITH DISABILITIES ACT OF 1990
                                   ADA NOTICE

   “If you are a person with a disability who needs any accommodation in order to participate
   in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
   Please contact Aliean Simpkins the Eleventh Judicial Circuit Court’s ADA Coordinator,
   Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite 2400, Miami, EL 33128;
   Telephone (305) 349-7175; TDD (305) 349-7174, Email ADA@iudlLflcourts.org; or via
   Fax at (305) 349-7355, at least (7) days before your scheduled court appearance, or
   immediately upon receiving this notification if the time before the scheduled appearance is
   less than seven (7) days; if you are hearing or voice impaired, call 711.”
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 25 of 50
     Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 26 of 50
Filing # 134370900 E-Filed 09/10/2021 02:19:42 PM

                                                           IN THE CIRCUIT COURT OF THE
                                                           11th JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI-DADE COUNTY, FLORIDA

                                                           CIVIL DIVISION

                                                           CASE NO.: 202I-020500-CA-01
        ELTON DORSEY,

               Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and GELIEN PEREZ,

               Defendants.                            /

                                        CIVIL ACTION SUMMONS

        THE STATE OF FLORIDA
        To Each Sheriff of the State:

        YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
        Declaratory Judgment on:

                   GELIEN PEREZ
         By Semng: Gelien Perez, Human Resources Director, City of Hialeah
                   501 Palm Avenue, Hialeah, FL 33010 (305-883-8050)

        Each Defendant is required to serve written defenses to the Complaint for Declaratory Judgment
        on:
          Plamtiff/Plaintiff Attorney: RICHARD A. SICKING, ESQ.
          Address: 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
        within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
        and to file the original of the defenses with the Clerk of this Court either before service on
        Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
        entered against that Defendant for the relief demanded in the Complaint for Declaratory
        Judgment.

        DATED ON                        _, 2021.

                                                     HARVEY RUVIN
                                                     Clerk of the Circuit Court


                                                     By_
                                                           As Deputy Clerk
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 27 of 50



                       AMERICANS WITH DISABILITIES ACT OF 1990
                                   ADA NOTICE

   “If you are a person with a disability who needs any accommodation in order to participate
   in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
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   Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite 2400, Miami, EL 33128;
   Telephone (305) 349-7175; TDD (305) 349-7174, Email ADA@iudll.flcourts.org; or via
   Fax at (305) 349-7355, at least (7) days before your scheduled court appearance, or
   immediately upon receiving this notification if the time before the scheduled appearance is
   less than seven (7) days; if you are hearing or voice impaired, call 711.”
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 28 of 50
     Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 29 of 50
Filing # 134370900 E-Filed 09/10/2021 02:19:42 PM

                                                           IN THE CIRCUIT COURT OF THE
                                                           11th JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI-DADE COUNTY, FLORIDA

                                                           CIVIL DIVISION

                                                           CASE NO.: 2021-020500-CA-01

        ELTON DORSEY,

               Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and GELIEN PEREZ,

               Defendants./

                                        CIVIL ACTION SUMMONS

        THE STATE OF FLORIDA
        To Each Sheriff of the State:

        YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
        Declaratory Judgment on:

                     CITY OF HIALEAH
         By Serving: Carlos Hernandez, Mayor
                     501 Palm Avenue, Hialeah, FL 33010            (305-883-5800)

        Each Defendant is required to serve written defenses to the Complaint for Declaratory Judgment
        on:
          Plaintiff/Plaintiff Attorney: RICHARD A. SICKING, ESQ.
          Address: 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
        within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
        and to file the original of the defenses with the Clerk of this Court either before service on
        Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
        entered against that Defendant for the relief demanded in the Complaint for Declaratoiy
        Judgment.

         DATED ON 9/13/2021               2021.

                                                     HARVEY RUVIN
                                                     Clerk of the Circuit Court
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 30 of 50



                       AMERICANS WITH DISABILITIES ACT OF 1990
                                   ADA NOTICE

   “If you are a person with a disability who needs any accommodation in order to participate
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   Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite 2400, Miami, EL 33128;
   Telephone (305) 349-7175; TDD (305) 349-7174, Email ADA@iudll.flcourts.org; or via
   Fax at (305) 349-7355, at least (7) days before your scheduled court appearance, or
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   less than seven (7) days; if you are hearing or voice impaired, call 711.”
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 31 of 50
     Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 32 of 50
Filing # 134370900 E-Filed 09/10/2021 02:19:42 PM

                                                            IN THE CIRCUIT COURT OF THE
                                                            11th JUDICIAL CIRCUIT IN AND FOR
                                                            MIAMI-DADE COUNTY, FLORIDA

                                                            CIVIL DIVISION

                                                            CASE NO.: 2021-020500-CA-01

        ELTON DORSEY,

                Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and GELIEN PEREZ,

                                 Defendants.           /
                                          CIVIL ACTION SUMMONS

        THE STATE OE FLORIDA
        To Each Sheriff of the State:
         YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
         Declaratory Judgment on:

                     GELIEN PEREZ
         By Serving: Gelien Perez, Human Resources Director, City of Hialeah
                     501 Palm Avenue, Hialeah, FL 33010 (305-883-8050)

         Each Defendant is required to serve written defenses to the Complaint for Declaratory Judgment
         on:
           Plaintiff/Plaintiff Attorney: RICHARD A. SICKING, ESQ.
           Address: 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
         within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
         and to file the original of the defenses with the Clerk of this Court either before service on
         Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
         entered against that Defendant for the relief demanded in the Complaint for Declaratory
         Judgment.
         DATED ON        9/13/2021        _, 2021.

                                                      HARVEY RUVIN
                                                      Clerk of the Circuit Court
                                                                  217Q43,

                                                      By_
                                                                      Afy-
                                                             As Deputy Clerk
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 33 of 50



                       AMERICANS WITH DISABILITIES ACT OF 1990
                                   ADA NOTICE

   “If you are a person with a disability who needs any accommodation in order to participate
   in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
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   Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite 2400, Miami, FL 33128;
   Telephone (305) 349-7175; TDD (305) 349-7174, Email ADA@iudll.ncourts.org; or via
   Fax at (305) 349-7355, at least (7) days before your scheduled court appearance, or
   immediately upon receiving this notification if the time before the scheduled appearance is
   less than seven (7) days; if you are hearing or voice impaired, call 711.”
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 34 of 50
     Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 35 of 50
Filing # 134625592 E-Filed 09/15/2021 09:52:12 AM


                                                           IN THE CIRCUIT COURT OF THE
                                                           I Ith JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI-DADE COUNTY, FLORIDA

                                                           CIVIL DIVISION

                                                           CASE NO.; 2021-020500-CA-01
        ELTON DORSEY,

               Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and GELIEN PEREZ,

               Defendants./

                            NOTICE OF ACCEPTANCE OF SERVICE OF PROCESS

                COMES NOW the Defendant, Board of Trustees of the City of Hialeah Employees

        Retirement System, by and through its undersigned attorney, Stuart A. Kaufman, and files this

        Notice of Acceptance of Service of Process and for grounds would state:

                1.     The Defendant Board of Tmstees of the City of Hialeah Employees Retirement

        System hereby gives notice of acceptance of the service of process on September 15, 2021 of the

        complaint filed in this case.

                                                    Respectfully submitted,

                                                    STUART A. ICAUFMAN, ESQ.
                                                    Klausner, Kaufman, Jensen and Levinson
                                                    Counsel for Defendant, Board of Trustees
                                                    7080 NW 4th Street
                                                    Plantation, FL 33317-2201
                                                    Telephone: (954) 916-1202
                                                    E-Mail: stu@robertdklausner.com
                                                    Florida Bar No. 979211


                                                    By.- /s/ Stuart A. Kaufman
                                                    STUART A. ICAUFMAN
                                                       1
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 36 of 50




                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a copy of the foregoing has been furnished by e-mail this 15th

   day of September, 2021, to: Elsa I. Jaramillo-Velez, Esq. (ejvl3196@hialeahfl.gov), Assistant

   City Attorney, City of Hialeah City Attorney’s Office, 501 Palm Avenue, 4th Floor, Hialeah, FL

   33010; David C. Miller, Esq. (dmiller@bmolaw.com), 1 SE 3rd Avenue, Suite 2200, Miami, FL

   33131-1716; Mark A. Touby, Esq. (ejcc@fortheworkers.com) and Richard A. Sicking, Esq.

   (ejcc3@fortheworkers.com), 2030 South Douglas Road, Suite 217, Coral Gables, FL 33134.


                                                     By: /s/ Stuart A. Kaufman
                                                         STUART A. KAUFMAN
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 37 of 50
      Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 38 of 50
Filing# 135197173 E-Filed 09/23/2021 03:14:44 PM


                                                              IN THE CIRCUIT COURT OF THE
                                                              1 Ith JUDICIAL CIRCUIT IN AND FOR
                                                              MIAMI-DADE COUNTY, FLORIDA

                                                              CIVIL DIVISION

                                                              CASE NO. 2021-020500-CA-01


        ELTON DORSEY,

                        Plaintiff,

        V.


        BOARD OF TRUSTEES OF THE
        CITY OF HIALEAH EMPLOYEES
        RETIREMENT SYSTEM,
        CITYOF HIALEAH, FLORIDA
        and GELIEN PEREZ,

                        Defendants.



             DEFENDANTS’ JOINT UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                                RESPOND TO COMPLAINT


                Defendants, through their undersigned counsel, hereby file this Joint Unopposed Motion

         For Extension Of Time To Respond To Complaint and further state in support thereof as follows;

                1.      Defendant City’s response to the Complaint is due on October 20, 2021; Ms. Perez’

         is due on October 20, 2021; and the Board’s is due on October 5, 2021.

                2.      The Complaint is lengthy and the issues it raises are complex.

                3.      Defendants need additional time to analyze the Complaint and respond. As such,

         they are jointly requesting until October 29, 2021, in which to respond. Counsel for Plaintiff does

         not oppose this Motion and has agreed to the attached Agreed Order.
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 39 of 50



          WHEREFORE, Defendants jointly request that the Court grant this Unopposed Motion

   and enter the attached Agreed Order granting them until October 29, 2021, in which to respond to

   the Complaint.

   KLAUSNER, KAUFMAN, JENSEN                          BRYANT MILLER OLIVE P.A.
    & LEVINSON                                        One S.E. Third Avenue, Suite 2200
   7080 NW 4“^ Street                                 Miami, Florida 33131
   Plantation, Florida 33317                          (305) 374-7349 (Telephone)
   (954) 916-1202 (Telephone)                         (305) 374-0895 (Fax)


   By     /s/Stuart A. Kaufman                        By:      /s/David C. Miller
     Robert D. Klausner (FL Bar No. 244082)                 David C. Miller (FL Bar No. 147427)
     bob(d)robertdklausner.com                              dmilleifrfebmolaw.com
     Stuart A. Kaufman (FL Bar No. 979211)                  Denise M. Heekin (FL Bar No. 892998)
     stu@robertdklausner.com                                dheekin@bmolaw.com
     Adam P. Levinson (FL Bar No. 055344)                   Counsel for Defendant City of Flialeah
     adam@robertdklaiisner.com                              and Gelien Perez
     Blanca T. Greenwood (FL Bar No. 919004)
     blanca(a)robertdkiausner.com
     Counsel for Defendant Board of Trustees
     of the City of Hialeah Employees’
     Retirement System
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 40 of 50




                                   CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served

   electronically through the Clerk of the Court by using the CM/ECF system, on this 23rd day of

   September, 2021, on all counsel or parties of record on the Service List below.


                                                       /s/David C. Miller
                                                       David C. Miller

                                           SERVICE LIST


   Mark A. Touby, Esquire
   TOUBY, CHAIT, SICKING, P.L.
   Co-Counsel for Plaintiff, Dorsey
   2030 South Douglas Road, Suite 217
   Coral Gables, Florida 33134
   (305)442-2318 (Telephone)
   ei cc @ fo rth e wo rk ers .corn

   Richard A. Sicking, Esquire
   TOUBY, CHAIT, SICKING, P.L.
   Co-Counsel for Plaintiff, Dorsey
   2030 South Douglas Road, Suite 217
   Coral Gables, Florida 33134
   (305) 442-2318 (Telephone)
   ei cc 3 (cf;fo rth e work e rs. c o m
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 41 of 50



                                                      IN THE CIRCUIT COURT OF THE
                                                      11th JUDICIAL CIRCUIT IN AND FOR
                                                      MIAMI-DADE COUNTY, FLORIDA

                                                      CIVIL DIVISION

                                                      CASE NO. 2021-02050U-CA-01

   ELTON DORSEY,

                  Plaintiff,

   V.


   BOARD OF TRUSTEES OF THE
   CITY OF HIALEAH EMPLOYEES
   RETIREMENT SYSTEM,
   CITYOF HIALEAH, FLORIDA
   and GELIEN PEREZ,

                  Defendants.



    AGREED ORDER GRANTING DEFENDANTS’ JOINT UNOPPOSED MOTION FOR
             EXTENSION OF TIME TO RESPOND TO COMPLAINT


          THIS CAUSE, having come before the Court on Defendants’ Joint Unopposed Motion For

   Extension Of Time To Respond To Complaint, the Court having reviewed same and being fully

   advised in the premises, it is hereby

          ORDERED AND ADJUDGED, that the Motion is granted. Defendants shall have until

   October 29, 2021, in which to respond to the Complaint.

          DONE AND ORDERED in Miami-Dade County, Florida, this__day of September, 2021.



                                               HONORABLE JOSE M. RODRIGUEZ
                                               CIRCUIT COURT JUDGE

   cc:    All counsel of record.
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 42 of 50
     Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 43 of 50
Filing # 135550703 E-Filed 09/29/2021 11:15:06 AM



         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2021-Q20500-CA-01
         SECTION; CA15
         JUDGE: Jose Rodriguez

         Elton Dorsey
         Plaintiff(s)

         vs.

         Board of Trustees,Hialeah Employees Retirement Sys et al
         Defendant(s)
                                             /

          AGREED ORDER GRANTING DEFENDANTS’ JOINT UNOPPOSED MOTION FOR
                   EXTENSION OF TIME TO RESPOND TO COMPLAINT


                 THIS CAUSE, having come before the Court on Defendants’ Joint Unopposed Motion

         For Extension Of Time To Respond To Complaint, the Court having reviewed same and being

         fully advised in the premises, it is hereby


                 ORDERED AND ADJUDGED, that the Motion is granted. Defendants shall have until

         October 29, 2021, in which to respond to the Complaint.

         DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 29th day of
         September. 2021.




                                                             2021-020500-CA-01 09-29-2021 11:01 AM
                                                                  Hon. Jose Rodriguez

                                                                   CIRCUIT COURT JUDGE
                                                                   Electronically Signed




   Case No: 2021-020500-CA-01                                                                  Page 1 of 2
 Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 44 of 50




       No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE TF POST JUDGMENT



     Electronically Served:
     Adam Levinson, adam@robertdklausner.com
     Blanca Greenwood, blanca@robertdklausner.com
     David C. Miller, dmiller@bmolaw.com
     David C. Miller, bramirez@bmolaw.com
     David C. Miller, mtripodi@bmolaw.com
     David C. Miller, dmiller@bmolaw.com
     Elsa I. Jaramillo-Velez, ejvl3196@hialeahfl.gov
     Richard A Sicking, ejcc3@fortheworkers.com
     Richard A Sicking, zoezibelle@aol.com
      Richard A Sicking, sickingpa@aol.com
      Robert D Klausner, bob@robertdklausner.com
      Robert D Klausner, kkjllaw@robertdklausner.com
      Robert D Klausner, lorna@robertdklausner.com
      Stuart A. Kaufman, stu@robertdklausner.com


      Physically Served:




Case No: 2021-020500-CA-01                                                    Page 2 of 2
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 45 of 50
     Case
Filing#   1:21-cv-23678-FAM
        135555560             Document11:42:16
                   E-Filed 09/29/2021  1-1 Entered
                                               AM on FLSD Docket 10/19/2021 Page 46 of 50



                                                  VERIFIED RETURN OF SERVICE


          State of Florida                                          County of Dade                                       County Court

          Case Number: 2021-020500-CA-01

          Plaintiff:
          ELTON DORSEY
          vs.
          Defendant:
          BOARD OF TRUSTEES OF THE CITY OF HIALEAH EMPLOYEES
          RETIEREMENT SYSTEM, CITY OF HIALEAH FLORIDA AND GELIEN PEREZ

          For:
          Mark Touby, Esq.
          TOUBY, CHAIT & SICKING, P.L.
          2030 S. Douglas Rd.
          Suite 217
          Coral Gables,, FL 33134

          Received by Tony Tamayo & Associates on the 15th day of September, 2021 at 1:24 pm to be served on GELIEN
          PEREZ ; BY SERVING GELIEN PEREZ, HUMAN RESOURCES DIRECTOR CITY OF HIALEAH, 501 PALM
          AVENUE, HIALEAH, FL 33010.

          I, Alina Nunez, do hereby affirm that on the 20th day of September, 2021 at 10:38 am, I:

          CORPORATE; served by delivering a true copy of the 20 DAY SUMMONS AND COMPLAINT with the date and
          hour of service endorsed thereon by me, to: DAILY MESA as AUTHORIZED AGENT for GELIEN PEREZ ; BY
          SERVING GELIEN PEREZ, HUMAN RESOURCES DIRECTOR CITY OF HIALEAH, at the address of: 501 PALM
          AVENUE, HIALEAH, FL 33010, and informed said person of the contents therein, in compliance with Florida Rules
          of Civil Procedure, Florida Statue 48.081 (1) or other state statute as applicable.

          Description of Person Served: Age: 32, Sex; F, Race/Skin Color: WHITE, Height: 5'6, Weight: 160, Hair: BROWN,
          Glasses: N

          I certify that 1 am over the age of 18, have no Interest in the above action, and I am a Certified Process Server, in
          good standing, in the judicial circuit in which the process was served. Under penalty of perjury, I declare that I have
          read the foregoing Verified Return of Service and that the facts stated in it are true.




                                                                                      7600 W. 20 Avenue, Ste. 217
                                                                                      Hialeah, FL 33016
                                                                                      (305) 821-5558

                                                                                      Our Job Serial Number: TTT-2021027213


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  Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 47 of 50

Filing # 134370900 E-Filed 09/10/2021 02:19:42 PM

                                                            IN THE CIRCUIT COURT OF THE
                                                            11 th JUDICIAL CIRCUIT IN AND FOR
                                                            MIAMI-DADE COUNTY, FLORIDA

                                                            CIVIL DIVISION

                                                            CASE NO.: 2021-020500-CA-01

        ELTON DORSEY,

                Plaintiff,

        vs.

         BOARD OF TRUSTEES OF THE CITY
         OF HIALEAH EMPLOYEES RETIREMENT
         SYSTEM, CITY OF HIALEAH, FLORIDA
                                                                                                 LA/
         and GELIEN PEREZ,                                                               A>-.\

                                          Defendants.!

                                         CIVIL ACTION SUMMONS

         THE STATE OF FLORIDA
         To Each Sheriff of the State:
         YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
         Declaratory Judgment on:

                      GELIEN PEREZ
          By Serving: Gelien Perez, Human Resources Director, City of Hialeah
                      501 Palm Avenue, Hialeah, FL 33010 (305-883-8050)

         Each Defendant is required to serve written defenses to the Complaint for Declaratory .ludgment
         on:
           Plaintiff/Plaintiff Attorney: RICHARD A. SICKING, ESQ.
           Address; 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
         within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
         and to file the original of the defenses with the Clerk of this Court either before service on
         Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
         entered against that Defendant for the relief demanded in the Complaint for Declaratory
         Judgment.
         DATED ON        9/13/2021        ,2021.

                                                      HARVEY RUVIN
                                                      Clerk of the Circuit Court


                                                      By_
                                                             As Deputy Clerk
Case 1:21-cv-23678-FAM Document 1-1 Entered on FLSD Docket 10/19/2021 Page 48 of 50




                                                      v.
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Filing# 135555560 E-Filed 09/29/2021 11:42:16 AM



                                                  VERIFIED RETURN OF SERVICE

         State of Florida                                          County of Dade                                        County Court

         Case Number: 2021-020500-CA-01

          Plaintiff:
          ELTON DORSEY
         vs.
          Defendant:
          BOARD OF TRUSTEES OF THE CITY OF HIALEAH EMPLOYEES
          RETIEREMENT SYSTEM, CITY OF HIALEAH FLORIDA AND GELIEN PEREZ

         For:
         Richard A. Sicking
         TOUBY, CHAIT & SICKING, P.L.
         2030 S. Douglas Road
         #217
         Coral Gables. FL 33134

          Received by Tony Tamayo & Associates on the 15th day of September, 2021 at 1:24 pm to be served on CITY OF
          HIALEAH BY SERVING CARLOS HERNANDEZ, MAYOR, 501 PALM AVENUE, HIALEAH, FL 3301Q

          I, Alina Nunez, do hereby affirm that on the 20th day of September, 2021 at 10:35 am, I:

          PUBLIC AGENCY; served by delivering a true copy of the 20 DAY SUMMONS AND COMPLAINT with the date and
          hour of service endorsed thereon by me, to: JENNY BARREIRA as AUTHORIZED AGENT for CITY OF HIALEAH
          BY SERVING CARLOS HERNANDEZ, MAYOR and informing said person of the contents therein.

          Description of Person Served: Age: 33, Sex: F, Race/Skin Color: WHITE, Height: 55, Weight: 155, Hair: BLACK,
          Glasses: N

          I certify that I am over the age of 18, have no interest in the above action, and I am a Certified Process Server, in
          good standing, in the judicial circuit in which the process was served. Under penalty of perjury, 1 declare that I have
          read the foregoing Verified Return of Service and that the facts stated in it are true.




                                                                                      7600 W. 20 Avenue, Ste. 217
                                                                                      Hialeah, FL 33016
                                                                                      (305) 821-5558

                                                                                      Our Job Serial Number: TTT-2021027212


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Filing# 134370900E-Filed 09/10/2021 02:19:42 PM

                                                                            IN THE CIRCUIT COURT OF THE
                                                                            11th JUDICIAL CIRCUIT IN AND FOR
                                                                            MIAMl-DADE COUNTY, FLORIDA

                                                                            CIVIL DIVISION

                                                                            CASE NO.: 202I-02()500-CA-01

        ELTON DORSEY,

               Plaintiff,

        vs.

        BOARD OF TRUSTEES OF THE CITY
        OF HIALEAH EMPLOYEES RETIREMENT
        SYSTEM, CITY OF HIALEAH, FLORIDA
        and C7ELIEN PEREZ,

                Defendants................................... ......... /
                                                    rTVTT. ACTION SUMMONS

        THE STATE OF FLORIDA
        To Each Sheriff of the State:
        YOU ARE HEREBY COMMANDED to serve this Summons and copy of the Complaint for
        Declaratory .Judgment on:

                     CITY OF HIALEAH
         By Serving: Carlos Hernandez, Mayor
                     501 Palm Avenue, Hialeah, FL 33010                             (305--883-5800)

         Each Defendant is required to serve written defenses to the Complaint for Declaratory Judgment
         on:
           Plaintiff/Plaintiff Attorney: RICHARD A, SICKING, ESQ.
           Address: 2030 S. Douglas Rd., Suite 217, Coral Gables, FL 33134 (305-442-2318)
         within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
         and to file the original of the defenses with the Clerk of this Court either before service on
         Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a default will be
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         Judgment.
         DATED ON 9/13/2021                           ,2021.

                                                                       HARVEY RIJVIN
                                                                       Clerk of the Circuit Court
